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  10                        UNITED STATES DISTRICT COURT
  11                      CENTRAL DISTRICT OF CALIFORNIA
  12
       STEPHANIE CLIFFORD a.k.a.               Case No. 2:18-CV-02217
  13   STORMY DANIELS a.k.a. PEGGY
                                               JOINDER OF DEFENDANT
  14   PETERSON, an individual,
                                               DONALD J. TRUMP
  15                                           IN MOTION TO COMPEL
                    Plaintiff,
                                               ARBITRATION BY DEFENDANT
  16                                           ESSENTIAL CONSULTANTS, LLC
              v.
  17
                                               Assigned for All Purposes to the
  18   DONALD J. TRUMP a.k.a. DAVID            Hon. S. James Otero
       DENNISON, an individual,
  19
       ESSENTIAL CONSULTANTS, LLC, a           Date:     April 30, 2018
  20   Delaware Limited Liability Company,     Time:     10:00 a.m.
       and DOES 1 through 10, inclusive,       Location: 350 West 1st Street
  21
                                                         Courtroom 10C, 10th Floor
  22                Defendants.                          Los Angeles, CA 90012
  23                                           Action Filed: March 6, 2018
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                        JOINDER IN MOTION TO COMPEL ARBITRATION
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   1        Defendant Donald J. Trump hereby joins in defendant Essential Consultants,
   2 LLC’s (“EC”) Motion to Compel Arbitration and consents to arbitration of the claims
   3 against him and EC in this matter.
   4
   5 Dated: April 2, 2018                 HARDER LLP
   6
                                          By: /s/ Charles J. Harder
   7                                          CHARLES J. HARDER
   8                                         Attorneys for Defendant
                                             DONALD J. TRUMP
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                        JOINDER IN MOTION TO COMPEL ARBITRATION
